Case 5:24-cv-00083-TJC-PRL Document 1-2 Filed 02/22/24 Page 1 of 31 PageID 41




               EXHIBIT B
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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  OCALA DIVISION


FREDDY LORENZO                ADAMS                              CASE NO.::

Plaintiff,

Vv.

LIFE CARE CENTERS OF AMERICA,
INC.
d/b/a LIFE CARE CENTER OF OCALA

Defendant.




            DECLARATION OF VIRGINIA JONES IN SUPPORT OF
          DEFENDANT’S NOTICE OF AND PETITION FOR REMOVAL

STATE OF FLORIDA                          )

COUNTY OF DUVAL                           )

      I, Virginia Jones, being over 18 years of age and competent to testify as to the

following    matters     contained      herein,     declare    and    state as follows     upon    personal

knowledge:

       1.      I hold the position of Paralegal with                 Jackson Lewis P.C.

       2.       On     February    12, 2024,        I obtained       a LexisNexis     Accurint    for Legal

Professionals Comprehensive Report (“Accurint Report”) regarding Plaintiff, Freddy

Lorenzo      Adams     (“Plaintiff’).         The   Accurint   Report     shows     that Plaintiffs   active

address, as of December 2023, was in Palatka, Florida.                    Attached as Exhibit “17 is a
Case 5:24-cv-00083-TJC-PRL Document 1-2 Filed 02/22/24 Page 3 of 31 PageID 43




true and correct copy of the Accurint Report, with private and confidential information

redacted.

       3.    The Accurint Report shows that Plaintiff is actively registered to vote in

the State of Florida and has been exclusively registered to vote in Florida since 1999.

       4.    The Accurint Report further shows Plaintiff has owned at least four (4)

vehicles, all registered in the State of Florida, and that Plaintiff maintains an active

Driver’s License issued by the State of Florida on January 6, 2021.

       Pursuant to 28 U.S.C. § 1746, I declare under the penalty of perjury of the laws

of the United States of America that the foregoing is true and correct.

       Executed this 14th day of February 2024.




                                         alee JONES
Case 5:24-cv-00083-TJC-PRL Document 1-2 Filed 02/22/24 Page 4 of 31 PageID 44




                       EXHIBIT 1
                                                                                Comprehensive Report
                   Case 5:24-cv-00083-TJC-PRL Document 1-2 Filed 02/22/24 Page 5 of 31 PageID 45



 Important: The Public Records and commercially available data sources used on reports have errors. Data is sometimes entered poorly, processed incorrectly and is generally not
 free from defect. This system should not be relied upon as definitively accurate. Before relying on any data this system supplies, it should be independently verified. For Secretary of
 State documents, the following data is for information purposes only and is not an official record. Certified copies may be obtained from that individual state´s Department of State.
 The criminal record data in this product or service may include records that have been expunged, sealed, or otherwise have become inaccessible to the public since the date on which
 the data was last updated or collected.

 Accurint does not constitute a "consumer report" as that term is defined in the federal Fair Credit Reporting Act, 15 USC 1681 et seq. (FCRA). Accordingly, Accurint may not be used
 in whole or in part as a factor in determining eligibility for credit, insurance, employment or another permissible purpose under the FCRA.

 Your DPPA Permissible Use: Civil, Criminal, Administrative, or Arbitral Proceedings
 Your GLBA Permissible Use: Use by Persons Holding a Legal or Beneficial Interest Relating to the Consumer
 Your DMF Permissible Use: Legitimate Business Purpose Pursuant to a Law, Government Rule, Regulation, or Fiduciary Duty



 Comprehensive Report

  Date: 02/12/24                                                                                                           Report Legend:
  Reference Code: 592533
                                                                                                                               - Shared Address
                                                                                                                               - Deceased
  Report processed by:                                                                                                         - Probable Current Address
  Jackson Lewis - New York City
  666 Third Avenue
  New York, NY 10017
  212-545-4059 Main Phone
  212-509-5717 Fax



 Subject Information                                       AKAs                                                                         Indicators
 (Best Information for Subject)                            (Names Associated with Subject)
 Name: FREDDY LORENZO ADAMS                                                                                                             Bankruptcy: No
 Date of Birth:                                            FREDDY LORENZO ADAMS                                                         Property: Yes
 Age: 44                                                     Age: 44 SSN:                                                               Corporate Affiliations: Yes
 SSN:               issued in Florida between              FREDDY L ADAMS
                                                             Age: 44 SSN:
                                                           FREDDY L ADAMS
                                                             Age: 43 SSN:
                                                           FREDDY ADAMS
                                                             Age: 44 SSN:
                                                           FREDDY I ADAMS
                                                             Age: 43 SSN:
                                                           FREDERICK R ADAMS
                                                             Age: 44 SSN:
                                                           FREDDIE L ADAMS
                                                             Age: 44 SSN:
                                                           FREDDIE ADAMS
                                                             Age: 44 SSN:
                                                           LORENZO ADAMS
                                                             Age: 43 SSN:
                                                           FREDDIE ADAM
                                                             Age: 43 SSN:
                                                           FREDDY ADAM
                                                             Age: 43 SSN:

 Comprehensive Report Summary:
     Bankruptcies:
       None Found
     Liens and Judgments:
       1 Found
     UCC Filings:
       None Found
     Phones Plus:
       6 Found
     Email Address:
       3 Found
     Driver´s License:
       15 Found
     Address(es) Found:
       1 Verified and 24 Non-Verified Found
Comprehensive Report                                                                                                                                                                        1
                                                              Comprehensive Report
                  Case 5:24-cv-00083-TJC-PRL Document 1-2 Filed 02/22/24 Page 6 of 31 PageID 46
     Possible Properties Owned:
       3 Found
     Motor Vehicles Registered:
       4 Found
     Watercraft:
       None Found
     FAA Certifications:
       None Found
     FAA Aircrafts:
       None Found
     Possible Criminal Records:
       2 Found
     Sexual Offenses:
       None Found
     Professional Licenses:
       None Found
     Voter Registration:
       5 Found
     Concealed Weapons Permit:
       None Found
     Possible Associates:
       15 Found




 Others Associated With Subjects SSN:
 (DOES NOT usually indicate any type of fraud or deception)
     [None Found]


 Address Summary:


                              PALATKA, FL 32177-3349, PUTNAM COUNTY (Sep 2022 - Dec 2023)
                       PALATKA, FL 32178-1472, PUTNAM COUNTY (Aug 2022 - Aug 2023)
                                 OCALA, FL 34475-6765, MARION COUNTY (May 2023 - Jan 2024)
                         PALATKA, FL 32177-2822, PUTNAM COUNTY (Dec 2021 - May 2023)
                            PALATKA, FL 32177-6428, PUTNAM COUNTY (Nov 2020 - Feb 2022)
                            PALATKA, FL 32177-4758, PUTNAM COUNTY (Feb 2021)
                         PALATKA, FL 32177-9633, PUTNAM COUNTY (Sep 2020)
                      WILDWOOD, FL 34785-3953, SUMTER COUNTY (Apr 1991 - Aug 2021)
                              BROOKSVILLE, FL 34601, HERNANDO COUNTY (Feb 2013)
                             DADE CITY, FL 33525-3545, PASCO COUNTY (Apr 2012 - Jul 2012)
                                DADE CITY, FL 33525-4059, PASCO COUNTY (Aug 2007 - Apr 2012)
                      TAMPA, FL 33617, HILLSBOROUGH COUNTY (Apr 2004 - Jan 2010)
                         WILDWOOD, FL 34785-3921, SUMTER COUNTY (May 2009)
                             WILDWOOD, FL 34785, SUMTER COUNTY (Nov 2009)
                               BROOKSVILLE, FL 34602-7424, HERNANDO COUNTY (Oct 2007 - Nov 2023)
                                         ZEPHYRHILLS, FL 33541-0954, PASCO COUNTY (Feb 2008 - Jan 2009)
                          BROOKSVILLE, FL 34602-7202, HERNANDO COUNTY (Feb 2008 - Dec 2008)
                                            BROOKSVILLE, FL 34601-3938, HERNANDO COUNTY (Apr 2005 - Aug 2006)
                                TAMPA, FL 33612-4854, HILLSBOROUGH COUNTY (Mar 2003 - Mar 2005)
                            DADE CITY, FL 33523-2234, PASCO COUNTY (Aug 1998 - Nov 2012)
                                   BUSHNELL, FL 33513-4410, SUMTER COUNTY (Dec 2006)
                                LUTZ, FL 33559-3430, HILLSBOROUGH COUNTY
                           PALATKA, FL 32177-4759, PUTNAM COUNTY (Jan 2021)
                             TAMPA, FL 33619-1841, HILLSBOROUGH COUNTY (Jan 2010)
                                DADE CITY, FL 33525-1520, PASCO COUNTY (Jun 2007)


 Active Address(es):
                          PALATKA, FL 32177-3349, PUTNAM COUNTY (Sep 2022 - Dec 2023)
          Name Associated with Address:

Comprehensive Report                                                                                            2
                                                          Comprehensive Report
               Case 5:24-cv-00083-TJC-PRL Document 1-2 Filed 02/22/24 Page 7 of 31 PageID 47
             FREDDY L ADAMS
                 Current Residents at Address:
             FREDDY L ADAMS
         Property Ownership Information for this Address
             Property:
                 Parcel Number - 42-10-27-6850-1990-0300
                 Book - 1118
                 Page - 1750
                 Owner Name: MARK I VINCIGUERRA
                 Property Address: -                  PALATKA, FL 32177-3349, PUTNAM COUNTY




 Previous And Non-Verified Address(es):

                 PALATKA, FL 32178-1472, PUTNAM COUNTY (Aug 2022 - Aug 2023)
         Name Associated with Address:
            FREDDY LORENZO ADAMS




                             OCALA, FL 34475-6765, MARION COUNTY (May 2023 - Jan 2024)
         Name Associated with Address:
            FREDDY ADAMS




Comprehensive Report                                                                           3
                                                         Comprehensive Report
               Case 5:24-cv-00083-TJC-PRL Document 1-2 Filed 02/22/24 Page 8 of 31 PageID 48




                    PALATKA, FL 32177-2822, PUTNAM COUNTY (Dec 2021 - May 2023)
         Name Associated with Address:
            FREDDY L ADAMS
               Current Residents at Address:




                       PALATKA, FL 32177-6428, PUTNAM COUNTY (Nov 2020 - Feb 2022)
         Name Associated with Address:
            FREDDY L ADAMS




Comprehensive Report                                                                           4
                                                        Comprehensive Report
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                                     2

                       PALATKA, FL 32177-4758, PUTNAM COUNTY (Feb 2021)
         Name Associated with Address:
            LORENZO ADAMS




                     PALATKA, FL 32177-9633, PUTNAM COUNTY (Sep 2020)
         Name Associated with Address:
            LORENZO ADAMS




Comprehensive Report                                                                           5
                                                          Comprehensive Report
              Case 5:24-cv-00083-TJC-PRL Document 1-2 Filed 02/22/24 Page 10 of 31 PageID 50




                 WILDWOOD, FL 34785-3953, SUMTER COUNTY (Apr 1991 - Aug 2021)
         Name Associated with Address:
            FREDDY L ADAMS

         Property Ownership Information for this Address
             Property:
                 Parcel Number - G06M005
                 Book - 3245
                 Page - 428
                 Owner Name: FREDDY ADAMS
                 Owner Name 2:
                 Property Address: -              WILDWOOD, FL 34785-3953, SUMTER COUNTY
                 Owner Address:               WILDWOOD, FL 34785-3953, SUMTER COUNTY




                         BROOKSVILLE, FL 34601, HERNANDO COUNTY (Feb 2013)
         Name Associated with Address:
            LORENZO ADAMS




                       DADE CITY, FL 33525-3545, PASCO COUNTY (Apr 2012 - Jul 2012)
         Name Associated with Address:
            LORENZO ADAMS




Comprehensive Report                                                                           6
                                                          Comprehensive Report
              Case 5:24-cv-00083-TJC-PRL Document 1-2 Filed 02/22/24 Page 11 of 31 PageID 51




                            DADE CITY, FL 33525-4059, PASCO COUNTY (Aug 2007 - Apr 2012)
         Name Associated with Address:
            LORENZO ADAMS




Comprehensive Report                                                                           7
                                                            Comprehensive Report
               Case 5:24-cv-00083-TJC-PRL Document 1-2 Filed 02/22/24 Page 12 of 31 PageID 52



                   TAMPA, FL 33617, HILLSBOROUGH COUNTY (Apr 2004 - Jan 2010)
           Name Associated with Address:
              FREDDY L ADAMS

                      WILDWOOD, FL 34785-3921, SUMTER COUNTY (May 2009)
           Name Associated with Address:
              LORENZO ADAMS




     402                  WILDWOOD, FL 34785, SUMTER COUNTY (Nov 2009)
           Name Associated with Address:
              FREDDY L ADAMS

                            BROOKSVILLE, FL 34602-7424, HERNANDO COUNTY (Oct 2007 - Nov 2023)
           Name Associated with Address:
              FREDDY L ADAMS




                                      ZEPHYRHILLS, FL 33541-0954, PASCO COUNTY (Feb 2008 - Jan 2009)
           Name Associated with Address:
              FREDDY L ADAMS




Comprehensive Report                                                                                   8
                                                        Comprehensive Report
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                     BROOKSVILLE, FL 34602-7202, HERNANDO COUNTY (Feb 2008 - Dec 2008)
         Name Associated with Address:
            FREDDY L ADAMS




                                     BROOKSVILLE, FL 34601-3938, HERNANDO COUNTY (Apr 2005 - Aug 2006)

Comprehensive Report                                                                                     9
                                                          Comprehensive Report
              Case 5:24-cv-00083-TJC-PRL Document 1-2 Filed 02/22/24 Page 14 of 31 PageID 54
         Name Associated with Address:
            FREDDY L ADAMS

                            TAMPA, FL 33612-4854, HILLSBOROUGH COUNTY (Mar 2003 - Mar 2005)
         Name Associated with Address:
            FREDDY LORENZO ADAMS




                       DADE CITY, FL 33523-2234, PASCO COUNTY (Aug 1998 - Nov 2012)
         Name Associated with Address:
            FREDERICK R ADAMS




                               BUSHNELL, FL 33513-4410, SUMTER COUNTY (Dec 2006)
         Name Associated with Address:
            FREDDY L ADAMS




Comprehensive Report                                                                           10
                                                        Comprehensive Report
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                            LUTZ, FL 33559-3430, HILLSBOROUGH COUNTY
         Name Associated with Address:
            FREDDY L ADAMS




                       PALATKA, FL 32177-4759, PUTNAM COUNTY (Jan 2021)
         Name Associated with Address:
            LORENZO ADAMS




                        TAMPA, FL 33619-1841, HILLSBOROUGH COUNTY (Jan 2010)
         Name Associated with Address:
            FREDDY L ADAMS




Comprehensive Report                                                                           11
                                                         Comprehensive Report
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                           DADE CITY, FL 33525-1520, PASCO COUNTY (Jun 2007)
         Name Associated with Address:
            FREDDY I ADAMS




 Bankruptcies:

     [None Found]



 Liens and Judgments:




Comprehensive Report                                                                           12
                                              Comprehensive Report
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 UCC Filings:
    [None Found]




Comprehensive Report                                                                           13
                                                          Comprehensive Report
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 Driver´s License Information:
     Name: FREDDY LORENZO ADAMS
     DL Number:
     State: Florida
     License Address:              WILDWOOD, FL 34785-3953, SUMTER COUNTY
     DOB:
     Potential SSN :
     Gender: Male
     Ethnicity: BLACK
     Expiration Date:     /2029
     Issue Date: 01/06/2021
     License Type: DRIVER LICENSE
     License Class: Non-Commercial - Regular Operator License
     Height: 5´08
     Data Source: Governmental

     Name: FREDDY LORENZO ADAMS
     DL Number:
     State: Florida
     License Address:                WILDWOOD, FL 34785-3953, SUMTER COUNTY
     DOB:
     Potential SSN :
     Gender: Male
     Ethnicity: BLACK
     Expiration Date:       2029
     Issue Date: 01/06/2021
     License Type: RENEWAL
     License Class: Non-Commercial - Regular Operator License
     Height: 5´08
     Data Source: Governmental
     Restrictions: Corrective Lenses

     Name: FREDDY LORENZO ADAMS
     DL Number:
     State: Florida
     License Address:                     PALATKA, FL 32177-6428, PUTNAM COUNTY
     DOB:
     Potential SSN :
     Gender: Male
     Ethnicity: BLACK
     Expiration Date:     /2029
     Issue Date: 01/06/2021
     License Type: DRIVER LICENSE
     License Class: Non-Commercial - Regular Operator License
     Height: 5´08
     Data Source: Governmental

     Name: FREDDY LORENZO ADAMS
     DL Number:
     State: Florida
     License Address:           PALATKA, FL 32177-3349, PUTNAM COUNTY
     DOB:
     Potential SSN :
Comprehensive Report                                                                           14
                                                                Comprehensive Report
              Case 5:24-cv-00083-TJC-PRL Document 1-2 Filed 02/22/24 Page 19 of 31 PageID 59
     Gender: Male
     Ethnicity: BLACK
     Expiration Date:       /2029
     Issue Date: 01/06/2021
     License Type: DRIVER LICENSE
     License Class: Non-Commercial - Regular Operator License
     Height: 5´08
     Data Source: Governmental
     Restrictions: Corrective Lenses

     Name: FREDDY LORENZO ADAMS
     DL Number:
     State: Florida
     License Address:                PALATKA, FL 32178-1472, PUTNAM COUNTY
     DOB:
     Potential SSN :
     Gender: Male
     Ethnicity: BLACK
     Expiration Date:       /2029
     Issue Date: 01/06/2021
     License Type: DRIVER LICENSE
     License Class: Non-Commercial - Regular Operator License
     Height: 5´08
     Data Source: Governmental
     Restrictions: Corrective Lenses

     Name: FREDDY LORENZO ADAMS
     DL Number:
     State: Florida
     License Address:                   PALATKA, FL 32177-3349, PUTNAM COUNTY
     DOB:
     Potential SSN :
     Gender: Male
     Ethnicity: BLACK
     Expiration Date:       2029
     Issue Date: 01/06/2021
     License Type: DRIVER LICENSE
     License Class: Non-Commercial - Regular Operator License
     Height: 5´08
     Data Source: Governmental
     Restrictions: Corrective Lenses

     Name: FREDDY LORENZO ADAMS
     DL Number:
     State: Florida
     License Address:                WILDWOOD, FL 34785-3953, SUMTER COUNTY
     DOB:
     Potential SSN :
     Gender: Male
     Ethnicity: BLACK
     Expiration Date:       /2021
     Issue Date: 03/22/2013
     License Type: RENEWAL
     License Class: Non-Commercial - Regular Operator License
     Height: 5´08
     Data Source: Governmental
     Restrictions: Corrective Lenses

     Name: FREDDY LORENZO ADAMS
     DL Number:
     State: Florida
     License Address:        WILDWOOD, FL 34785-3953, SUMTER COUNTY
     DOB:
     Potential SSN :
     Gender: Male

Comprehensive Report                                                                           15
                                                                Comprehensive Report
              Case 5:24-cv-00083-TJC-PRL Document 1-2 Filed 02/22/24 Page 20 of 31 PageID 60
     Ethnicity: BLACK
     Expiration Date:       2021
     Issue Date: 03/22/2013
     License Type: DUPLICATE REPLACEMENT
     License Class: Non-Commercial - Regular Operator License
     Height: 5´08
     Data Source: Governmental
     Restrictions: Corrective Lenses

     Name: FREDDY LORENZO ADAMS
     DL Number:
     State: Florida
     License Address:                WILDWOOD, FL 34785-3953, SUMTER COUNTY
     DOB:
     Potential SSN :
     Gender: Male
     Ethnicity: BLACK
     Expiration Date:       /2021
     Issue Date: 03/22/2013
     License Type: DUPLICATE REPLACEMENT
     License Class: Non-Commercial - Regular Operator License
     Height: 5´08
     Data Source: Governmental
     Restrictions: Corrective Lenses

     Name: FREDDY LORENZO ADAMS
     DL Number:
     State: Florida
     License Address:                   BROOKSVILLE, FL 34602-7202, HERNANDO COUNTY
     DOB:
     Potential SSN :
     Gender: Male
     Ethnicity: BLACK
     Expiration Date:       /2013
     Issue Date: 02/07/2008
     License Type: ORIGINAL
     License Class: Non-Commercial - Regular Operator License
     Height: 5´08
     Data Source: Governmental
     Restrictions: Corrective Lenses

     Name: FREDDY LORENZO ADAMS
     DL Number:
     State: Florida
     License Address:                  WILDWOOD, FL 34785-4540, SUMTER COUNTY
     DOB:
     Potential SSN :
     Gender: Male
     Ethnicity: BLACK
     Expiration Date:       /2013
     Issue Date: 02/07/2008
     License Type: DUPLICATE REPLACEMENT
     License Class: Non-Commercial - Regular Operator License
     Height: 5´08
     Data Source: Governmental
     Restrictions: Corrective Lenses

     Name: FREDDY LORENZO ADAMS
     DL Number:
     State: Florida
     License Address:                        BROOKSVILLE, FL 34602-7424, HERNANDO COUNTY
     DOB:
     Potential SSN :
     Gender: Male
     Ethnicity: BLACK

Comprehensive Report                                                                           16
                                                          Comprehensive Report
               Case 5:24-cv-00083-TJC-PRL Document 1-2 Filed 02/22/24 Page 21 of 31 PageID 61
     Expiration Date:        2012
     Issue Date: 10/29/2007
     License Type: ORIGINAL
     License Class: Identification Card
     Height: 5´08
     Data Source: Governmental

     Name: FREDDY LORENZO ADAMS
     DL Number:
     State: Florida
     License Address: 12402 N 15TH ST, TAMPA, FL 33612-4825, HILLSBOROUGH COUNTY
     DOB:
     Potential SSN :
     Gender: Male
     Ethnicity: BLACK
     Expiration Date:       2007
     Issue Date: 02/14/2003
     License Type: RENEWAL
     License Class: Non-Commercial - Regular Operator License
     Height: 5´08
     Data Source: Governmental
     Restrictions: Corrective Lenses

     Name: FREDDY LORENZO ADAMS
     DL Number:
     State: Florida
     License Address: 12402 N 15TH ST, TAMPA, FL 33612-4825, HILLSBOROUGH COUNTY
     DOB:
     Potential SSN :
     Gender: Male
     Ethnicity: BLACK
     Expiration Date:       /2007
     Issue Date: 02/14/2003
     License Type: DUPLICATE
     License Class: Non-Commercial - Regular Operator License
     Height: 5´08
     Data Source: Governmental
     Restrictions: Corrective Lenses

     Name: FREDDY LORENZO ADAMS
     DL Number:
     State: Florida
     License Address:                      DADE CITY, FL 33523-2234, PASCO COUNTY
     DOB:         1980
     Potential SSN :
     Gender: Male
     Ethnicity: BLACK
     Expiration Date:       /2003
     Issue Date: 10/30/1996
     License Class: Non-Commercial - Regular Operator License
     Height: 5´08
     Data Source: Governmental
     Restrictions: Corrective Lenses


 Possible Properties Owned by Subject:

     Property:
         Parcel Number - 42-10-27-6850-2480-0101
         Book - 1711
         Page - 74
        Owner Name: FREDDY ADAMS
         Property Address -
         Owner Address:                PALATKA, FL 32178-1472, PUTNAM COUNTY
         Sale Date -
         Sale Price -
Comprehensive Report                                                                            17
                                                             Comprehensive Report
              Case 5:24-cv-00083-TJC-PRL Document 1-2 Filed 02/22/24 Page 22 of 31 PageID 62


     Property:
         Parcel Number - G06M005
         Book - 3245
         Page - 428
        Owner Name: FREDDY ADAMS
        Owner Name 2:
         Property Address: -        WILDWOOD, FL 34785-3953, SUMTER COUNTY
         Owner Address:           WILDWOOD, FL 34785-3953, SUMTER COUNTY
         Land Usage - MOBILE HOME
         Total Market Value -
         Assessed Value -
         Land Value -
         Improvement Value -
         Year Built -
         Legal Description -
         Data Source - B

     Property:
         Parcel Number - G06M005
         Book - 2491
         Page - 413
        Owner Name: FREDDY ADAMS
        Owner Name 2:
         Property Address -        WILDWOOD, FL 34785-3953, SUMTER COUNTY
         Owner Address:          WILDWOOD, FL 34785-3953, SUMTER COUNTY
         Sale Date -
         Sale Price -
        Seller Name:
         Data Source - A


 Motor Vehicles Registered To Subject:

     Vehicle:
         Description: Blue 1992 Ford Escort - Sedan 4 Door
         VIN:
         State Of Origin: FLORIDA
         Engine: 4 Cylinder 113 Cubic Inch
         Anti Lock Brakes: Not available
         Air Conditioning: Available
         Daytime Running Lights: Not available
         Power Brakes: Standard
         Power Windows: Available
         Security System: None
         Roof: None / not available
         Price: 9795
         Radio: AM/FM
         Front Wheel Drive: Yes
         Four Wheel Drive: No
         Data Source: Governmental

         Owner(s)
            Name: FREDDY LORENZO ADAMS
             Potential SSN :
             Address:                             BROOKSVILLE, FL 34601-3938, HERNANDO COUNTY
             DOB:
             Sex: Male
             Age: 44
             DL #:
             Title Information
                   Title Number:
                   Title Issue Date: 8/12/2005

Comprehensive Report                                                                            18
                                                                   Comprehensive Report
              Case 5:24-cv-00083-TJC-PRL Document 1-2 Filed 02/22/24 Page 23 of 31 PageID 63
         Registrant(s)
             Record Type: EXPIRED
             Name: FREDDY LORENZO ADAMS
              Potential SSN :
              Address:                              BROOKSVILLE, FL 34601-3938, HERNANDO COUNTY
              DOB:
              Sex: Male
              Age: 44
              DL #:
              Tag Number:
              Earliest Registration Date: 8/12/2005
              Latest Registration Date: 2/9/2006
              Expiration Date: 1/15/2007
              Decal Date: 2007

         Lien Holder(s)
              Record Type: HISTORICAL
              Company Name: VANS CARS AND TRUCKS
              Lien Date: 7/14/2005



     Vehicle:
         Description: White 1988 Lincoln Town Car - Sedan 4 Door
         VIN:
         State Of Origin: FLORIDA
         Engine: 8 Cylinder 302 Cubic Inch
         Restraints: Active (manual) belts
         Anti Lock Brakes: Not available
         Air Conditioning: Standard
         Daytime Running Lights: Not available
         Power Steering: Standard
         Power Brakes: Standard
         Power Windows: Standard
         Security System: Unknown
         Roof: None / not available
         Price: 23126
         Radio: AM/FM Cassette
         Front Wheel Drive: No
         Four Wheel Drive: No
         Tilt Wheel: Standard
         Data Source: Governmental

         Owner(s)
            Name: FREDDY LORENZO ADAMS
             Potential SSN :
             Address:                            BROOKSVILLE, FL 34601-3938, HERNANDO COUNTY
             DOB:
             Sex: Male
             Age: 44
             DL #:
             Title Information
                   Title Number:
                   Title Issue Date: 4/1/2005

         Registrant(s)
             Record Type: EXPIRED
             Name: FREDDY LORENZO ADAMS
              Potential SSN    :
              Address:                           BROOKSVILLE, FL 34601-3938, HERNANDO COUNTY
              DOB:
              Sex: Male
              Age: 44
              DL #:
              Tag Number:

Comprehensive Report                                                                              19
                                                             Comprehensive Report
              Case 5:24-cv-00083-TJC-PRL Document 1-2 Filed 02/22/24 Page 24 of 31 PageID 64
              Earliest Registration Date: 4/1/2005
              Latest Registration Date: 4/1/2005
              Expiration Date: 1/15/2006
              Decal Date: 2006

         Lien Holder(s)
             None



     Vehicle:
         Description: Blue 1980
         VIN:
         State Of Origin: FLORIDA
         Data Source: Governmental

         Owner(s)
            Name: FREDDY LORENZO ADAMS
             Potential SSN :
             Address:                         DADE CITY, FL 33523-2234, PASCO COUNTY
             DOB:
             Sex: Male
             Age: 44
             DL #:
             Title Information
                   Title Number:
                   Title Issue Date: 8/9/2001

         Registrant(s)
             Record Type: EXPIRED
             Name: FREDDY LORENZO ADAMS
              Potential SSN :
              Address:                        DADE CITY, FL 33523-2234, PASCO COUNTY
              DOB:
              Sex: Male
              Age: 44
              DL #:
              Tag Number:
              Earliest Registration Date: 12/5/2000
              Latest Registration Date: 12/5/2000
              Expiration Date: 1/15/2002
              Decal Date: 2002

         Lien Holder(s)
             None



     Vehicle:
         Description: 1998 Nissan Maxima - Sedan 4 Door
         VIN:
         State Of Origin: FLORIDA
         Engine: 6 Cylinder 182 Cubic Inch
         Restraints: Dual front air bags/active belts
         Anti Lock Brakes: ABS optional, wheels unknown
         Air Conditioning: Standard
         Daytime Running Lights: Not available
         Power Steering: Standard
         Power Brakes: Standard
         Power Windows: Standard
         Security System: Unknown
         Roof: None / not available
         Price: 21499
         Radio: AM/FM Cassette
         Front Wheel Drive: Yes
         Four Wheel Drive: No
         Tilt Wheel: Standard
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          Data Source: Non-Governmental
          Source Date First Seen: 11/2/2015
          Source Date Last Seen: 11/2/2015

         Owner(s)
            Name: FREDDY ADAMS
            Address:          PALATKA, FL 32178-1472, PUTNAM COUNTY
            DOB:
            Sex: Male
            Age: 44
            DL #:
            Title Information

         Lien Holder(s)
             None




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 Voter Registration:
     Name: FREDDY L ADAMS SR
     Address:                  WILDWOOD, FL 34785-3953
     DOB:
     Gender: Male
     Ethnicity: BLACK
     Last Vote Date: 11/8/2016
     Registration Date: 4/28/1999
     Political Party: NONE DECLARED
     State of Registration: Florida
     Status: ACTIVE

     Name: FREDDY L ADAMS SR
     Address:                  WILDWOOD, FL 34785-3953
     DOB:
     Gender: Male
     Last Vote Date: 11/3/2020
     Registration Date: 4/28/1999
     Political Party: NONE DECLARED
     State of Registration: Florida
     Status: ACTIVE

     Name: FREDDY L ADAMS
     Address:                WILDWOOD, FL 34785-3953
     DOB:
     Gender: Male
     Ethnicity: BLACK
     Last Vote Date: 11/8/2016
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     Registration Date: 4/28/1999
     Political Party: NONE DECLARED
     State of Registration: Florida
     Status: ACTIVE

     Name: FREDDY L ADAMS SR
     Address:                       PALATKA, FL 32177-6428
     DOB:
     Gender: Male
     Ethnicity: BLACK
     Last Vote Date: 11/3/2020
     Registration Date: 4/28/1999
     Political Party: NONE DECLARED
     State of Registration: Florida
     Status: ACTIVE

     Name: FREDDY L ADAMS
     Address:                         DADE CITY, FL 33523-2234
     DOB:
     Gender: Male
     Ethnicity: BLACK
     Political Party: OTHER
     State of Registration: Florida
     Status: INACTIVE




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